                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA



UNITED STATES OF AMERICA                             )
                                                     )       Case No.1:06-cr-09-003
vs.                                                  )
                                                     )
PATRICK PITTS                                        )       JUDGE EDGAR
                                                     )       MAGISTRATE JUDGE LEE



                                            ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Counts One, Two, and Three; (2)

accept Defendant’s plea of guilty to Counts One, Two, and Three of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Counts One, Two, and Three of the Indictment; (4) defer

a decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

remain in custody until sentencing in this matter [Doc. No. 97]. Neither party filed a timely

objection to the report and recommendation. After reviewing the record, the Court agrees with the

magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS

the magistrate judge’s report and recommendation [Doc. No. 97] pursuant to 28 U.S.C. § 636(b)(1)

and ORDERS as follows:

       (1) Defendant’s motion to withdraw his not guilty plea to Counts One, Two, and Three is

GRANTED;

       (2) Defendant’s plea of guilty to Counts One, Two, and Three of the Indictment is

ACCEPTED;

       (3) Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One, Two,



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and Three of the Indictment;

       (4) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

       (5) Defendant SHALL REMAIN in custody until sentencing in this matter.

       SO ORDERED.

       ENTER:

                                            /s/ R. Allan Edgar
                                          R. ALLAN EDGAR
                                    UNITED STATES DISTRICT JUDGE




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